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                                 UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF KENTUCKY
                                           AT LEXINGTON

IN RE:                                                      Case   No. 18-51022

WILLIAM DAVID LOVELESS DBA PRO LINE                         Chapter 13
INSURANCE AGENCY, INC. DBA THE STORE
AT WELLINGTON,INC.                                          Judge Gregory R. Schaaf


                        Debtor
                                                             OBJECTION TO DEBTOR'S PLAN BY
                                                             WELLS FARGO BANK, N.A.
                                                             (PROPERTY ADDRESS 1374 HTGHWAY
                                                           i 746, WELLINGTON, KY 40387)


          Now comes Wells Fargo Bank, N.A., a secured creditor, and respectfully objects to the proposed

Chapter 13 Plan filed herein by the debtor(s). This Objection is supported by the following Memorandum'




                                                 MEMORANDUM

          On March 23,2006, William David Loveless and non-filing spouse Ida Loveless signed a Note in

the amount of $221 ,000.00. The Note matures on        April 7 , 2036. Debtor   and   non-filing spouse Ida Loveless

executed a Morlgage secured by Debtor's principal residence located at 1314 Highway 746 Wellington,

KY      40387 ("Real Propertl'). The mortgage was filed for record on March 30,2006 in Book 53 Page266

of Menifee County records.

          Wells Fargo Bank, N.A. holds a mortgage lien on debtor(s) real property known as                      1374


Highway 746 Wellington,     KY    40381   .   Creditor filed a Proof of Claim on June      27   ,2078 as Claim No-   3-


The morlgage loan account is in default, resulting in an amearage of 5126,519.49. The Chapter 13 Plan

fails to comply with Sectio n 1322(b)(5) of the Bankruptcy Code, which permits debtors to cure defaults
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while resuming and maintaining regular payments on long term obligations. That section requires,

however, that such defaults be cured "within a reasonable time".

       The Chapter   i3    Plan proposes herein does not provide for sufficient payment to cure Creditor's

arrearage in accordance   with Section 1322(b)(5).

       Creditor further objects as the proposed plan calls for the Debtors to make post-petition payments to

the Chapter 13 Trustee for disbursement and the Trustee is opposed to conduit plans as         it   would be

burdensome to the Trustee.

       WHEREFORE, based on the foregoing, Creditor respectfully requests that confirmation of the

proposed plan be denied.




                                                             /sl Joel K. Jensen
                                                             Joel K. Jensen
                                                             Bar Regisrration #81 820
                                                             s13-241-3100 x-3349


                                                      LERNER, SAMPSON & ROTHFUSS
                                                      Attomeys for Creditor
                                                      PO Box 5480
                                                      Cincinnati, OH 45201 -5480
                                                      (513) 354-6464 fax
                                                      ekybk@lsrlaw.com
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                                    CERTIFICATE OF SERVICE

       The undersigned cerlifies that a copy of the foregoing Objection to Debtor's Plan of the secured
creditor, Wells Fargo Bank, N.A., was electronically transmitted on June 29, 2018 via the Coutt's
CM/ECF system to the following who are listed on the Court's Electronic Mail Notice list.

Ryan R. Atkinson, Esq., Attorney for Debtor
1608 Harrodsburg Road
Lexington, KY 40504
rra@ask-law.com

Beverly Burden, Trustee
P.O. Box2204
Lexington, KY 40588-2204
Notices@Ch13EDKY.com

Office of U.S. Trustee
100 East Vine Street
Suite 500
Lexington, KY 40507
ustpregionO 8.Ix. ecf@usdoj. gov


       The undersigned certifies that a copy of the foregoing Objection to Debtor's Plan was transmitted
on or about June 29,2018 via regular U.S. mail, postage pre-paid:

William David Loveless
l374Highway 746
Wellington, KY 40387


                                                          /s/ Joel   K. Jensen
                                                          Joel K.    Jensen
                                                          Bar Registration #8 I 820
                                                          s13-241-3100 x'3349


                                                    LERNER, SAMPSON & ROTHFUSS
                                                    Attomeys for Creditor
                                                    PO Box 5480
                                                    Cincinnati, OH 45201 -5480
                                                    (513) 3s4-6464 fax
                                                    ekybk@lsrlaw.com
